          Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                              Plaintiff,
vs.                                                                 No. 19-CR-4440-MV


NICHOLOUS PHILLIPS,

                              Defendant.

     DEFENDANT NICHOLOUS PHILLIPS’ MOTION OBJECTING TO THE
 APPLICABILITY OF THE ARMED CAREER CRIMINAL ACT (ACCA) PROVISION
                    OF 18 U.S.C. § 924 TO THIS CASE

       Defendant Nicholous Phillips (Mr. Phillips), by and through his counsel of record,

Romero & Winder, PC (Joe M. Romero, Jr.), hereby respectfully requests a finding by this Court

that the Armed Career Criminal Act (ACCA) provision of 18 U.S.C. §924 does not apply to this

case. under § 30-3-8(b) is not a predicate violent felony under the ACCA. As grounds, Mr.

Phillips submits the following:

                                           Introduction

       On November 19, 2019, a Criminal Complaint was filed alleging that on November 15,

2019, Mr. Phillips was found to be in unlawful possession of multiple pieces of a Glock firearm

(“a lower receiver for a Glock pistol, or pieces thereof;” “a Glock pistol frame, cut or broken

into two (2) pieces”), bearing the serial number VZF110 and which had traveled in and affected

interstate commerce in violation of Title 18 USC 922(g)(1). (Doc. 1).

       On December 3, 2019, Mr. Philips was indicted, in pertinent part, with one count of being

a convicted felon knowingly in possession of a firearm and ammunition, in and affecting

commerce, in violation of 18 U.S.C. §§ 922(g)(1) and 924. (Doc. 4). During plea discussions the
           Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 2 of 8



government contends that the reference in the Indictment to 18 U.S.C. §924 effectively applied

to or references 18 U.S.C. §924(e)(1), meaning that Mr. Phillips is subject to the ACCA fifteen

(15) year mandatory – minimum sentencing enhancement.

       Mr. Phillips contests the applicability of the ACCA fifteen (15) year mandatory –

minimum sentencing enhancement. In a prior 2012 case (No.1:09-CR-0361-MV), Mr. Phillips

filed an objection to his PSR contesting the applicability of his prior conviction for Shooting at

or from a Motor Vehicle, in violation of NMSA 1978, § 30-3-8(B) as an ACCA eligible crime of

violence (No. 1:09-CR-0361-MV, Doc. 40). In response, this Court found that Mr. Phillips’ 2007

§ 30-3-8(B) did not qualify as a predicate crime of violence pursuant to the Armed Career

Criminal Act, 18 U.S.C. Section 924(e). See Sentencing Minute Sheet, Case 1:09-CR-03601-

MV, Doc. 49, attached hereto as Exhibit A.

       Based presumably on the Tenth Circuit’s 2017 decision in United States v. Pam, 867 F.3d

1191 (10th Cir. 2017), in which the Court in Pam found that a § 30-3-8(B) conviction can qualify

as an ACCA eligible crime of violence, the government now contends that Mr. Phillips is now

subject to ACCA’s fifteen (15) year mandatory – minimum sentencing enhancement. Mr.

Phillips disputes this contention.

       The Tenth Circuit’s determination in Pam that a § 30-3-8(B) may qualify as an ACCA

eligible crime of violence does not apply to this case because the Pam opinion left the door open

for an alternative finding if the underlying facts did not involve an act of force against a person.

Pam, 867 F.3d at 1211. Also, the issue of whether an offense which requires a mens rea of “mere

recklessness,” such as in § 30-3-8(B), qualifies as an ACCA eligible “crime of violence” is

unsettled. This very question will be addressed by the United States Supreme Court this term in

United States v. Borden. See 769 Fed.Appx. 266 (6th Cir. 2019), appeal docketed, No. 19-5410



                                                  2
          Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 3 of 8



(U.S., Mar. 2, 2020) (available at https://bit.ly/2Z45wI9) (question presented, “Does the ‘use of

force’ clause in the [ACCA], 18 U.S.C. § 924(e)(2)(B)(i) encompass crimes with a mens rea of

mere recklessness?”).

                                          ARGUMENT

       A. The Tenth Circuit in U.S. v. Pam Left Open a Narrow Exception to Its Decision
          Finding that a Prior Conviction Under NMSA 1978, 30-3-8(B) That Did Not
          Involve an Element of Force Against the Person of Another Was Not a Violent
          Felony Under the ACCA.

       The Tenth Circuit in Pam left open the possibility that if a defendant showed that the

application of § 30-3-8(B) “applied to conduct not involving the use, attempted use, or

threatened use of force against the person of another,” then a prior conviction under § 30-3-8(B)

would not count as a violent crime under the ACCA.

       To qualify as a violent felony, [a] conviction must either (1) fit under §
       924(e)(2)(B)(i) because it ‘has as an element the use, attempted use, or threatened
       use of physical force against’ another individual [“elements clause”]; (2) be one
       of the four offenses specifically enumerated in § 924(e)(2)(B)(ii) [“enumerated
       clause”]; or (3) fall within the residual clause of § 924(e)(2)(B)(ii) because it
       involves conduct that ‘presents a serious potential risk of physical injury to
       another [“residual clause”].’

United States v. Fell, 511 F.3d 1035, 1037 (10th Cir. 2007) (quoting 18 U.S.C. § 924(e)).

       In other words, to determine whether a conviction qualifies as an ACCA eligible crime of

violence, the statute of conviction must be analyzed as falling within one of the ACCA’s violent

felony definitional clause tests, to wit: the elements clause, the enumerated clause, or the residual

clause. In 2005, the Supreme Court found the residual clause of Section 924(e)(2)(B) was

unconstitutionally vague (Johnson v. United States, 135 S.Ct. 2551 (2015)), and as such

ACCA’s residual clause test is no longer applicable.

       A conviction for shooting at a vehicle under § 30-3-8(B) does not qualify as a violent

felony pursuant to the plain language of ACCA’s enumerated clause which states, in pertinent


                                                 3
           Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 4 of 8



part, that a violent felony is one of the enumerated crimes of “burglary, arson, or extortion.” 18

U.S.C. § 924(e)(2)(B)(ii). See Pam, 867 F.3d at 1203 (it is “undisputed” that defendant’s crimes

of conviction under § 30-3-8(B) do not fall within the enumerated offenses of the ACCA).

       Not falling under ACCA’s enumerated clause, the issue of whether Mr. Phillips’ prior

conviction for Shooting at or from a Motor Vehicle, in violation of § 30-3-8(B), qualifies as an

ACCA eligible crime of violence must be resolved by application of the elements clause test. 18

U.S.C. § 924(e)(2)(B)(i). Mr. Phillips argues that his conviction is not a violent felony under the

elements clause pursuant to the exception left open by Pam which allows that a §30-3-8(B)

conviction which does not involve shooting at the person of another would not qualify as an

ACCA eligible crime of violence.

       The Pam court stated that it found it “more theoretical than realistic that §30-3-8(B)

would be applied to conduct not involving the use, attempted use, or threatened use of force

against the person of another.” Pam at 1211. Importantly, the court stated as follows:

           Mr. Pam has done nothing to dissuade us of this conclusion. He points to no
           case, including his own, in which New Mexico has applied § 30-3-8(B) to
           circumstances not involving the use, attempted use, or threatened use of force
           against the person of another.

United States v. Pam, 867 F.3d 1191, 1211 (10th Cir. 2017) (citing Gonzales v. Duenas-Alvarez,

549 U.S. 183, 193 (2007) (holding that to meet the realistic probability standard, a defendant

"must at least point to his own case or other cases in which the state courts in fact did apply the

statute in the . . . manner for which he argues")).

       Here, the facts of Mr. Phillips’ 2007 conviction under § 30-3-8(B) do meet the realistic

probability standard1 – that Mr. Phillips was convicted under 30-3-8(B) for conduct that did not


       1
         [T]o find that a state statute creates a crime outside the generic definition of a listed
       crime in a federal statute requires more than the application of legal imagination to a state
       statute's language. It requires a realistic probability, not a theoretical possibility, that the

                                                      4
          Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 5 of 8



involve the use, attempted use, or threatened use of force against the person of another, and thus

does not qualify as an ACCA eligible crime of violence. Instead, Mr. Phillips’ conduct of

conviction literally involved a conviction for the conduct of shooting into an engine block of a

vehicle. See Presentence Report, at ¶ 36, Case 1:09-CR-03601-MV, attached hereto in relevant

part as Exhibit B. Thus, Mr. Phillips’ 2007 conviction under § 30-3-8(B) applies to facts that do

not involve an element force against the person of another, and thus does not qualify as an

ACCA eligible crime of violence.

       B. The Question Whether a Crime Requiring the Mens Rea of Mere Recklessness
          Qualifies as an ACCA Eligible Crime of Violence is Unsettled Law.

       The question of whether a crime with the required mens rea of “reckless disregard”

constitutes a violent felony under the ACCA is unsettled law, and this Court’s 2012

determination that Mr. Phillip’s 2007 conviction under § 30-3-8(B) was not an ACCA eligible

crime of violence must remain undisturbed. Pam not only stated that the determination that a

conviction under § 30-3-8(B) was a “close question” (Pam, 867 F.3d, at 1203), but Pam’s

reliance on the United States Supreme Court’s ruling in Voisine v. United States, 579 U.S.

___, 136 S.Ct. 2272 (2016), was misplaced, because (1) Voisine addressed an entirely

distinguishable context for the analysis of recklessness, and (2) because the Supreme Court has

granted certiorari for this term to consider the more relevant and on-point question put forth by




       State would apply its statute to conduct that falls outside the generic definition of a crime.
       To show that realistic possibility, an offender, of course, may show that the statute was so
       applied in his own case. But he must at least point to his own case or other cases in which
       the state courts in fact did apply the statute in the special (nongeneric) manner for which
       he argues.

Gonzales v. Duenas-Alvarez, 549 U.S. 183, 193 (2007).



                                                     5
           Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 6 of 8



Borden, specifically addressing the question of whether crimes requiring a mens rea of

recklessness qualify as predicate offenses under the ACCA. Supra Borden.

        First, Voisine addressed the question of whether a reckless domestic assault qualifies as a

“misdemeanor crime of domestic violence” under a federal statute prohibiting possession of a

firearm under § 922(g)(9).” Voisine v. United States, 136 S. Ct. 2272, 2277-78 (2016) (emphasis

added).2 Analyzing recklessness in the context of an assault statute, wherein the necessary act

and element of the statute of conviction facially involves an act of force against a person, is

wholly distinguishable from the analysis of recklessness in a felony conviction for shooting at or

from a vehicle. Reckless assault on a person necessarily incorporates the act of force on a person,

an element requirement under the ACCA.

        In comparison, shooting from a vehicle with reckless disregard does not necessarily

encompass an act of force against a person. An act of force is against a person when shooting

from a vehicle is a potential by-product but is not a given nor an element of the offense. In fact,

Mr. Phillips’ § 30-3-8(B) conviction did not include an act of force against a person. Had he

assaulted a family member, as the defendant in Voisine, there is no escaping the act of force

against a person, whether knowing or reckless. The Pam analysis of the mens rea of

recklessness or reckless disregard is akin to an analysis of the residual clause (i.e. a conviction

for a crime which involved “a substantial risk of the use of force”) which was held to be

unconstitutional in Johnson. Supra. Thus, the Pam court’s reliance on Voisine is misplaced.3


2
  Also distinguishing Voisine, as Pam points out, is that there the court analyzed § 921(a)(33)(A)(ii) and
did not analyze the statute under the ACCA. Pam, 867 F.3d at 1208.
3
  Discharging Voisine, Mr. Phillips agrees with the defendant in Pam that the Tenth Circuit decisions in
United States v. Duran, 696 F.3d 1089, 1095 (10th Cir. 2012) and United States v. Zuniga-Soto, 527 F.3d
1110, 1124 (10th Cir. 2008) control:

           In United States v. Duran , 696 F.3d 1089, 1095 (10th Cir. 2012), and United States v. Zuniga-
           Soto , 527 F.3d 1110, 1124 (10th Cir. 2008), we held a mens rea of recklessness was

                                                     6
            Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 7 of 8



       Next, if Voisine and Pam settled the question of whether a conviction under § 30-3-8(B),

which contains a mens rea of recklessness, qualifies as a ACCA eligible crime of violence, then

it begs the question why the U.S. Supreme Court would take up that very question in Borden. To

wit: “Does the ‘use of force’ clause in the [ACCA], 18 U.S.C. § 924(e)(2)(B)(i) encompass

crimes with a mens rea of mere recklessness?” The fact that the Supreme Court has certified this

very question, the one at issue in this case, confirms that this issue remains unresolved and

evolving.

                                            CONCLUSION


       Wherefore, based on the foregoing facts and authorities, Mr. Phillips respectfully moves

this Court for an Order finding that his conviction under § 30-3-8(B), for shooting at a motor

vehicle, does not count as an ACCA eligible crime of violence.


                                                          Respectfully Submitted,
                                                          /s/ Joe M. Romero, Jr.
                                                          Joe M. Romero, Jr.
                                                          Romero & Winder, PC
                                                          Attorney for Michael Salazar
                                                          P.O. Box 25543
                                                          Albuquerque, N.M. 87125
                                                          (505) 843-9776
                                                          EM: joe@romeroandwinder.com




            insufficient to satisfy the physical-force requirements of the "crime of violence" definitions
            found in U.S.S.G. §§ 4B1.2(a) and 2L1.2. Relying on these decisions, Mr. Pam argues § 30-3-
            8(B) cannot satisfy the similarly-phrased provision in the ACCA because the statute may be
            violated with a showing of recklessness.

Pam, 867 F.3d at 1207




                                                     7
          Case 1:19-cr-04440-MV Document 34 Filed 05/16/20 Page 8 of 8



                                    Certificate of Service

        I hereby certify that, on May 15, 2020, the foregoing pleading was filed electronically
pursuant to CM/ECF procedures for the District of New Mexico, which caused the parties and/or
their counsel to be served by electronic transmission, as more fully reflected by the Notice of
Electronic Filing.

/s/ Joe M. Romero, Jr.
Joe M. Romero, Jr.




                                               8
